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QFFlDAVlT OF SERV|CE THROUGH THE SECRETARY OF STATE

n ` , .v
‘\

 

 

 

|ndex # '11cv0764 Purchased/Filed: September 9, 2011
STATE OF NE\_N YORK UN|TED STATES D|STRICT COURT WESTERN D|STR|CT
Christopher Godson, on behalf of himself and all other similarly situated plaintiff
against
Eifman, Eitman & Cooper, P.C. and LVNVFunding, LLC Defendant

STATE OF NEW YORK SS _

COUNTY OF ALB_AN‘( "

Heather Nlorigerato , being dulyr sworn. deposes and says: deponent is over

the age of'eighteen¢(¢i 8)¢years;#that¢on¢w~~ - -~~ O<:tolaer#2¢1,¢201#1¢*¢,#at¥1¢1#:45am#:at¢theofii<:e¢of*thejr

 

Secretary of State of the State of New York in the City of A|bany, New York deponent served the annexed

Surnmons in a Civil Action and C|ass Action Complaint
on

Eltmanl Eltman & Cooper, P.C. , the

Defendant in this actionl by delivering to and leaving with 7 Donna Christi'e ' ,

 

AUTHOR|ZED AGENT in the Office of the Secretary of State. of the State of New York, personally at the
Office of the Secretary of State of the State of New York, 2 true copies thereof and that at the time

of making such service, deponent paid said Secretary of State a fee of 40 dollars; That said service

 

was made pursuant to Section 306 Business Corporation Law .

Deponent further says that deponent knew the person so served as aforesaid to be the agent in the Office
of the Secretary of State of the State of New Yorl<, dulyr authorized to accept such service on behalf of said

defendant

Description of the person served: Approx. Age: 41 Approx. Wt: 145 Approx. Ht: 5‘5"

Co|or of skin: White_ Haircolor: B|onde; Sex: Fema|e Other:

ita /Z@¢

Heather Nloééerato
Attny's File No.

Invoice'Work Order# SP1110660
SEerco. lNc. - PO Box 871 - ALBANY. NEW YoRK 12201 - PH 518-463-4179

 

    
 

 

 

 

